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                   EXHIBIT G
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   Whenever you do something like buy one of our products, watch a show or download
   an app, information is created. Because we know your privacy is important, we have a
   Privacy Policy to explain how we collect, use and protect that information. There’s a
   quick summary below, and the actual policy is written in an easy to understand
   “Frequently Asked Questions” (FAQ) format (/sites/privacy_policy/terms). We
   want to simplify this explanation, so you can make informed choices about your
   privacy, and then spend the rest of your time enjoying our products and services.



   Revised February 15, 2019




   Our Privacy Policy applies to your use of all products, services and websites offered by
   AT&T and our AT&T affiliates, such as DIRECTV, unless they have a different privacy
   policy. Because some apps, including some AT&T and DTV branded apps, require
   additional information, or use information in different ways, they may have their own
   privacy policies and/or terms and conditions. These apps may also offer you additional
   choices for managing your personal information.

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   Our privacy commitments

        • We don’t sell your Personal Information to anyone for any purpose. Period.
        • We keep your Personal Information in our business records while you are a
          customer, or until it is no longer needed for business, tax or legal purposes.
        • We will keep your information safe using encryption or other appropriate
          security controls.
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   Here’s some of the information we collect:

       • Account Information includes your name, address, telephone number, e-mail
         address, service-related details such as payment data, security codes, service
         history and other information like that;
       • Network Performance & Usage Information tells us how you use our
         networks, our products and our services, and how well our equipment and
         networks are performing;
       • Web Browsing & Wireless Application Information tells us about the
         websites you visit and the mobile applications you use on our networks;
       • Location Information tells us where your wireless device is located, as well as
         your ZIP-code and street address;
       • TV Viewing Information tells us about which programs you watch and record
         and similar information about how you use our video services and applications.

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   Here are the three basic ways we collect it:

       • We get information from you when you do things like make a purchase from us;
       • We collect it from how you use our products and services;
       • We obtain information from other sources, like credit agencies, marketing
         companies, and other service providers.

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   Here are just some of the ways we use it. To:

       • Provide services and improve your customer experience;
       • Send you bills for your services;
       • Respond to your questions;
       • Address network integrity, help in fraud prevention and network and device
         security issues;
       • Do research and analysis to maintain, protect, develop and improve our
         networks and services;
       • Let you know about service updates, content, offers and promotions that may
         be of interest to you;
       • Improve entertainment options;
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       • Deliver Relevant Advertising;
       • Create External Marketing & Analytics Reports;
       • Assist in the prevention and investigation of illegal activities and violations of our
         Terms of Service or Acceptable Use Policies.

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   Some examples of who we share your Personal Information with:

       • Across our companies to give you the best customer experience and to help
         you get everything we have to offer.
       • Other, non-AT&T companies that perform services on our behalf only as
         needed for them to perform those services. We require them to protect your
         information consistent with our Policy.
       • With other companies and entities, to:
              ◦ Respond to 911 requests and other emergencies or exigencies;
              ◦ Comply with court orders and other legal process;
              ◦ Assist with identity verification, and preventing fraud and identity theft;
              ◦ Enforce our agreements and property rights;
              ◦ and Obtain payment for products and services including the transfer or
                sale of delinquent accounts to third parties for collection

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   Understanding Personal, Anonymous & Aggregate Information

       • What is Personal Information? Information that identifies or reasonably can be
         used to identify you.
       • What is Anonymous Information? This is information that doesn’t identify you
         and can't reasonably be used to identify you specifically.
       • What is Aggregate Information? We take a whole bunch of people’s data and
         combine it into anonymous groups or categories.
       • How do we use this information? We use and share this information in many
         ways including research, analysis, retail marketing, and advertising. This data is
         also included in External Marketing & Analytics Reports.
       • Want to learn more? Go here (/sites/privacy_policy/terms#aggregate).

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   Our Online Privacy Policy for Children
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        • We want you to know that we don't knowingly collect personally identifying
          information from anyone under the age of 13 unless we first obtain permission
          from the child's parent or legal guardian.

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   Your Choices & Controls

        • For information about children’s safety and parental controls, view our AT&T
          Smart Controls and DIRECTV Parental Controls
          (https://www.att.com/shop/wireless/smartcontrols.html).
        • You have choices about certain types of advertising you get from us;
        • You can control whether your Anonymous Information is used in our External
          Marketing & Analytics Reports;
        • You can choose whether to receive marketing calls, e-mails or text messages or
          certain other communications from us;
        • You have a choice about how we use your Customer Proprietary Network
          Information.

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   Visit our Privacy Policy (/sites/privacy_policy/full_privacy_policy) for more
   information.

        • Definitions (/sites/privacy_policy/terms#definitions)
        • Scope of this Policy (/sites/privacy_policy/terms#scope)
        • The Information We Collect, How We Collect It, And How We Use It
          (/sites/privacy_policy/terms#collect)
        • Information Sharing (/sites/privacy_policy/terms#sharing)
        • Online Activity Tracking and Advertising
          (/sites/privacy_policy/terms#tracking)
        • Location Information (/sites/privacy_policy/terms#location)
        • Aggregate and Anonymous Information
          (/sites/privacy_policy/terms#aggregate)
        • External Marketing & Analytics Reports
          (/sites/privacy_policy/terms#analytics)
        • Online Privacy Policy for Children (/sites/privacy_policy/terms#children)
        • Data Protection & Security (/sites/privacy_policy/terms#protection)
        • Changes (/sites/privacy_policy/terms#changes)
        • Choices & Controls (/sites/privacy_policy/terms#controls)
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        • How to Contact Us (/sites/privacy_policy/terms#contact)



   Your California Privacy Rights
   California Civil Code Section 1798.83 entitles California customers to request
   information concerning whether a business has disclosed Personal Information to any
   third parties for their direct marketing purposes. As stated in this Privacy Policy, we will
   not sell your Personal Information to other companies and we will not share it with
   other companies for them to use for their own marketing purposes without your
   consent.

   California Web Site Data Collection & "Do Not Track" Notices

   Web Site Data Collection: We do not knowingly allow other parties to collect
   personally identifiable information about your online activities over time and across
   third-party web sites when you use our websites and services. We provide information
   about the opt-out choices available to customers, and the opt-out choices provided by
   certain third-party website and mobile application analytics companies we use here
   (/sites/privacy_policy/rights_choices).

   "Do Not Track" Notice: Because the providers of "do not track" and similar signals do
   not yet operate according to common, industry-accepted standards, we currently do
   not respond to those signals. For more information on Do Not Track, please visit
   www.allaboutdnt.com (http://www.allaboutdnt.com/).

   California customers who wish to request further information about our compliance with
   these requirements, or have questions or concerns about our privacy practices and
   policies may contact us at privacypolicy@att.com (mailto:privacypolicy@att.com),
   or write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S. Akard, Room 1033,
   Dallas, TX 75202.

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   Our AT&T Privacy Policy in easy to understand, FAQ format.

   We understand that everyone thinks that privacy policies are long, complicated and
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   difficult to understand. So we're going to try to make this as simple as possible.

   What is the purpose of AT&T’s Privacy Policy? Whenever you do something like
   buy or use one of our products or services or visit our websites, information is created.
   Because we know privacy is important to you, we have the AT&T Privacy Policy to
   explain how we collect, use, protect, and share that created information. Thus, the
   main purpose of the Policy is to help you understand our relationship and how we are
   able to deliver and improve the services we offer.

   How should this Policy be used? We encourage you to read the whole policy so you
   will understand fully our relationship. To find specific information, here is an outline of
   where you will find answers to your questions about key topics:

   Visit these links for more information.

        •   Definitions
        •   Scope of this Policy
        •   The Information We Collect, How We Collect It, And How We Use It
        •   Information Sharing
        •   Online Activity Tracking and Advertising
        •   Location Information
        •   Aggregate and Anonymous Information
        •   External Marketing & Analytics Reports
        •   Online Privacy Policy for Children
        •   Data Protection & Security
        •   Changes
        •   Choices & Controls
        •   How to Contact Us

   Definitions

   Let's start with what we mean when we say:

   Aggregate Information: We combine individual information into anonymous groups of
   customers or users. One way to think of it is in terms of a survey or opinion poll.
   Aggregate information would tell you that 80 percent of the people voted for a
   candidate, but not who actually voted. These groups are large enough to reasonably
   prevent individuals from being identified.
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   Anonymous Information: Information that doesn't directly identify and can't
   reasonably be used to identify an individual customer or user. We treat identifiers like
   cookies, advertising identifiers, device identifiers, and household identifiers as
   Anonymous Information except in circumstances where they can be used to identify
   you.

   AT&T: Throughout this Policy, references to “AT&T,” “we,” “us,” and “our” include the
   family of AT&T companies around the world except affiliates or applications with a
   separate privacy policy.

   Customer: Anyone who purchases or uses our products or services. When a customer
   purchases retail products or services for use by others, like a family account, those
   family members also are customers.

   Mobile Application: A software application that runs on smartphones, tablet
   computers or other mobile devices and that allows users to access a variety of
   services and information.

   Personal Information: Information that directly identifies or reasonably can be used to
   figure out the identity of a customer or user, such as your name, address, phone
   number and e-mail address. Personal Information does not include published listing
   information.

   Relevant Advertising: Creates aggregate audience segments based on non-
   personally identifiable information about customers (like age, ethnicity, income range, a
   particular geographic area, and their interests) to serve advertising that is more likely to
   be useful to those audience segments. "Online behavioral advertising" is one type of
   Relevant Advertising. It uses interest categories based on the websites visited by
   people who are not personally identified to deliver advertising online.

   Third-Party Services: Services from third-party service providers other than AT&T,
   such as banks or roadside assistance companies.

   User: Anyone who visits our websites or uses our mobile applications.

   Website: And other terms like "Internet site," "site" and "web page" all mean the same
   thing, namely any page or location on the Internet, no matter what device (cell phone,
   tablet, laptop, PC, etc.) or protocol (http, WAP, ftp or other) is used to access the page
   or location.
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   Questions about the Scope of this Policy

      1. To whom does the Policy apply?

   This Privacy Policy applies to customers and users of AT&T products and services,
   except customers and users of products or services provided by an affiliate or an
   application with a different privacy policy.

      2. What does this Policy cover?

   This Privacy Policy covers our practices regarding the information we collect about our
   customers and users (how we collect it and how we use it). Use of our products and
   services, as well as visits to our websites, are subject to this Privacy Policy.

      3. Do you have any Privacy Policies other than this one?

   Yes. Some AT&T affiliates or applications may have separate privacy policies that
   describe how they collect, use and share information they collect from their customers
   and users. When we share Personal Information with those affiliates or combine it with
   information from those applications we protect it in a way consistent with this Privacy
   Policy.

   Additionally, some of our applications may have terms and conditions that describe
   other privacy commitments or choices in addition to those in this Privacy Policy.

   Some areas outside the United States require us to work a little differently. In that case,
   we may adopt separate privacy policies as necessary to reflect the requirements of
   applicable local laws.

   The Joint AT&T EchoStar Privacy Policy for AT&T|DISH Network Customer Account
   Information remains in effect for AT&T|DISH subscribers.

      4. What about my family members and other users of my AT&T account?
         Does this Policy apply to them?

   Yes. You're responsible for making sure all family members or other users under your
   account understand and agree to this Policy. Get everyone together and talk about it.
   Or, send it by e-mail to make sure they're on board. Hang it on the fridge. Up to you,
   just share it!
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      5. When is information not covered by this Policy?

   If you purchase or use the products or services of an AT&T affiliate that has a different
   privacy policy than this one, that privacy policy will apply.

   Additionally, this Privacy Policy does not apply any time you give information to
   companies other than AT&T. Some examples are:

        • When you use a non-AT&T Wi-Fi service;
        • When you download applications or make purchases from other companies
          while using our Internet or wireless services;
        • When you go to a non-AT&T website from one of our websites or applications
          (by clicking on a link or an advertisement, for example);
        • When you give your information to another company through a website co-
          branded by AT&T but controlled by the other company;
        • If you use public forums - such as social networking services, Internet bulletin
          boards, chat rooms, or blogs - the information is publicly available, and we
          cannot prevent distribution and use of that information by other parties;
        • Information about your location, usage and the numbers you dial when you're
          out and about and roaming on the network of another company;
        • When you purchase or use non-AT&T products (such as wireless devices,
          internet browsers and mobile applications) in combination with our services;
        • When we license our brand to other companies for their use in marketing and
          selling certain non-AT&T products and services, information you give those
          companies is not covered by this Policy.

      6. Can my information be covered by this Policy and other privacy policies at
         the same time?

   Yes, that can happen. For example:

   Sometimes we will work with other, unaffiliated companies to provide a service. In that
   case your information may be subject to this Policy and that of the other company. For
   example, you purchase one of our products or services from a retailer like Best Buy or
   Amazon.com, any information you provide to them may be subject to both their policy
   and ours.
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   If you connect to our Wi-Fi service through another network, such as one provided in a
   hotel, airport or other venue, any information collected from your use of that network
   could be subject to either the AT&T Privacy Policy or the venue policy, and sometimes
   both. The same thing applies if you connect to our network through your employer's
   corporate network, or any network operated by a non-AT&T company.

   We think it's a great idea to take a look at the privacy policies of any companies you do
   business with to learn how they use your information.

      7. What about business customers?

   We may have written product or service agreements with our business customers that
   contain specific provisions about confidentiality, security or handling of information.
   When one of these agreements differs from or conflicts with this Policy, the terms of
   those agreements will apply. In all other instances, the terms of this Policy apply.

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   Questions About The Information We Collect, How We Collect It, And
   How We Use It

      1. What information do you collect?

   We may collect different types of information based on your use of our products and
   services and on our business relationship with you.

        • Account Information:
               ◦ Contact Information that allows us to communicate with you. We get
                  this information when you order or register for our services. This would
                  include information like your name, address, telephone number and e-
                  mail address.
               ◦ Billing Information related to your financial relationship with us, such as
                  the services we provide to you, the telephone numbers you call and text,
                  your payment history, your credit history, your credit card numbers,
                  Social Security number, security codes and your service history.
        • Technical & Usage Information related to the services we provide to you,
          including information about how you use our networks, services, products or
          websites. Some examples include:
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                ◦ Equipment Information that identifies the equipment on our networks,
                  such as equipment type, device identifiers, device status, serial
                  numbers, settings, configuration and software.
                ◦ Network Performance & Usage Information about the operation of the
                  equipment, services and applications you use on our networks.
                  Examples of this might include wireless device location, the number of
                  text messages sent and received, voice minutes used, calling and
                  texting records, bandwidth used, and resources you use when
                  uploading, downloading or streaming data to and from the Internet. We
                  also collect information like transmission rates and delays, data
                  associated with remote monitoring services and security characteristics.
                        ◦ Some Network Performance & Usage Information and some
                          Billing Information is Customer Proprietary Network
                          Information or "CPNI." Unique rules apply to CPNI. Go here
                          (/sites/privacy_policy/rights_choices#cpni) to learn more
                          about what it is, how we use it and the choice you can make
                          about that use.
                ◦ Web Browsing & Mobile Application Information such as IP
                  addresses, URLs, data transmission rates and delays. We also learn
                  about the pages you visit, the time you spend, the links or
                  advertisements you see and follow, the search terms you enter, how
                  often you open an application, how long you spend using the app and
                  other similar information.
        • Location Information includes your ZIP-code and street address, as well as
          the whereabouts of your wireless device. Location information is generated
          when your device communicates with cell towers, Wi-Fi routers or access points
          and/or with other technologies, including the satellites that comprise the Global
          Positioning System.
        • TV Viewing Information is generated by your use of any of our satellite or
          IPTV (U-verse) services. These services may include video on demand, pay per
          view, DVR services, applications to watch your TV on the go for tablet or
          smartphone (such as the TV Everywhere app) and similar AT&T services and
          products, including the programs and channels you and those in your
          household watch and record, the times you watch and how long you watch. It
          also includes information like the interactive channels and games provided by
          U-verse or DIRECTV. We also collect information related to your use and
          interaction with the equipment in your home, including the TV receivers, set top
          boxes, remotes and other devices you may use to access our services.
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      2. How Do You Collect Information?

   In three basic ways:

        • You Give It To Us when you make a purchase or set up an account with us;
        • We Automatically Collect Information when you use our networks, products
          and services. For example, we use network tools to collect your call records; we
          collect wireless device location from our networks and from your device; and we
          also use cookies (/sites/privacy_policy/cookies_and_other_technologies),
          web server logs and other technologies.
        • We Obtain Information from Outside Sources like credit reports, marketing
          mailing lists, and commercially available geographic and demographic
          information along with other publicly available information, such as public posts
          to social networking sites.

      3. How Do You Use This Information?

   We use your information to improve your experience and to make our business
   stronger. Some examples include:

        • Providing and managing your services, responding to your questions and
          addressing problems;
        • Delivering customized content, or advertising, such as personalized offers for
          products and services that may be of interest to you;
        • Communicating service updates, offers and promotions;
        • Protecting network integrity and security, ensuring quality control, optimizing
          capacity and preventing misuse;
        • Network enhancement planning, engineering and technical support;
        • Conducting research and analysis for maintaining, protecting and developing
          our networks and our services;
        • Preventing illegal activities, suspected fraud, and potential threats to our
          networks and our customers’ networks;
        • Investigating violations of our Terms of Service, Acceptable Use Policies, or
          other service conditions or restrictions; and
        • Protecting the safety of any person.

      4. Do you use the information I store using one of your cloud services?

   We only use it to provide you with that service, unless we first get your permission to
   use it for something different.
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   Questions About Information Sharing

      1. Do you provide information for phone books and Caller ID?

   Yes and No.

   Yes, we share the names, addresses and telephone numbers of our wireline telephone
   and U-verse Voice customers with businesses that publish directories and provide
   directory assistance services. We are required by law to do that. You may contact us
   (http://about.att.com/sites/privacy_policy/terms#contact) and we honor your
   request for non-published or non-listed phone numbers. Once we provide published
   listing information to those businesses, they may use, sort, package, repackage and
   make it available again in different formats to anyone.

   Yes, we also provide wireline and wireless calling name and number information for
   CallerID, and related services like Call Trace, which allow a person receiving a call to
   obtain the name and number of the party calling them.

   No, we do not give listing information for wireless numbers to phone book publishers or
   directory assistance services without your permission.

      2. Do you share my Personal Information internally?

   Yes. Our products and services are developed, managed, marketed and sold by a
   variety of our affiliated companies. We may share Personal Information internally,
   including with affiliated companies that may have different privacy policies. When we
   do this we require the affiliated company or companies to protect the Personal
   Information in a way consistent with this Privacy Policy. We may also combine
   Personal Information with data derived from an application that has a different privacy
   policy. When we do that, this Privacy Policy applies to the combined data set. Sharing
   information in these ways helps us offer you the high quality, seamless and innovative
   range of products you have come to expect from us. Some of these include:

        • Wireless voice, data, Internet, home security, automation and remote monitoring
          services provided by AT&T Mobility and AT&T Digital Life; and
        • The suite of satellite and IPTV services, Voice and High Speed Internet Access
          services offered by our companies.
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   If the affiliate relationship with one of our AT&T subsidiaries is not clear, information
   sharing with that subsidiary is handled as though it is a non-AT&T company. The
   relationship between AT&T branded companies can typically be identified through the
   use of the AT&T name or brand, the use of the AT&T "globe" logo, or through
   advertising, cross-promotional offers, or widely reported news or information in the
   press or social media that highlights the company as an AT&T affiliate (like Xandr and
   our highly publicized merger with the Time Warner family, now called WarnerMedia
   (/ecms/dam/sites/Privacy%20Policy/WarnerMedia%20Affiliates.pdf)). Affiliated
   companies that are not publicly recognized as part of the AT&T family of companies
   are treated as though they are non-AT&T companies for purposes of information
   sharing under this policy.

      3. Do you share my Personal Information with other non-AT&T companies for
         them to market to me?

   We will only share your Personal Information with other non-AT&T companies for them
   to use for the marketing of their own products and services when we have your
   consent.

      4. Are there any other times when you might provide my Personal Information
         to other non-AT&T companies or entities?

   Yes. We share your Personal Information with other, non-AT&T companies that perform
   services for us, like processing your bill. Because we take our responsibility to
   safeguard your Personal Information seriously, we do not allow those companies to
   use it for any purpose other than to perform those services, and we require them to
   protect it in a way consistent with this Privacy Policy. Companies that perform these
   services may be located outside the United States or the jurisdiction where you reside.
   If your Personal Information is shared with these companies, it could be accessible to
   government authorities according to the laws that govern those jurisdictions. There are
   also occasions when we provide Personal Information to other non-AT&T companies or
   other entities, such as government agencies, credit bureaus and collection agencies,
   without your consent. Some examples include sharing to:

        • Comply with court orders, subpoenas, lawful discovery requests and other legal
          or regulatory requirements, and to enforce our legal rights or defend against
          legal claims;
        • Obtain payment or make refunds for products and services that appear on your
          AT&T billing statements, including the transfer or sale of delinquent accounts or
          refund obligations to third parties for collection or payment.
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        • Enforce our agreements and protect our rights or property;
        • Assist with identity verification and e-mail address validation;
        • Respond to lawful requests by public authorities, including to meet national
          security or law enforcement requirements;
        • Notify, respond or provide information (including location information) to a
          responsible governmental entity in emergency or exigent circumstances or in
          situations involving immediate danger of death or serious physical injury; and
        • Notify the National Center for Missing and Exploited Children of information
          concerning child pornography of which we become aware through the provision
          of our services.

      5. Do you share my personally identifiable TV Viewing Information with other,
         non-AT&T companies?

   We don't share your personally identifiable TV Viewing Information with other non-
   AT&T companies for them to use for the marketing of their own products and services
   without your consent. We are required to notify you about the special requirements we
   must follow when it comes to sharing your personally identifiable TV Viewing
   Information in response to a Court Order:

   Notice Regarding Disclosure of Personally Identifiable Information of Satellite
   and IPTV Subscribers in Response to A Court Order

        • In the case of a court order obtained by a non-governmental entity, we are
          authorized to disclose personally identifiable information collected from TV
          subscribers as a result of the subscriber's use of TV service only after providing
          prior notice to the subscriber.
        • In the case of a court order obtained by a governmental entity, we are
          authorized to disclose personally identifiable information collected from TV
          subscribers as a result of the subscriber's use of TV service only if, in the court
          proceeding relevant to the order:
                ◦ The governmental entity offers clear and convincing evidence that the
                  subject of the information is reasonably suspected of engaging in
                  criminal activity and that the information sought would be material
                  evidence in the case; and
                ◦ The subject of the information has an opportunity to appear and contest
                  the governmental entity's claim; and
                ◦ We have provided notice to the subscriber as required by applicable
                  state law.
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   Questions About My Information and Advertising

      1. Do you use my information to send me advertising?

   Yes. We may use information like the preferences you have expressed and interests
   you have demonstrated on our websites, in our stores and through use of our products
   and services, to provide you with marketing information and advertisements for our
   products and services. Those ads may be delivered on our websites and mobile
   applications. This is called "first party" advertising. It is part of our service relationship
   and you are not able to opt-out from this type of advertising.

   We or our advertising partners may use Anonymous Information gathered through
   cookies and similar technologies
   (/sites/privacy_policy/cookies_and_other_technologies), as well as other
   Anonymous Information and Aggregate Information that either of us may have to help
   us tailor the ads you see on non-AT&T sites. For example, if you see an ad from us on
   a non-AT&T sports-related website, you may later receive an ad for sporting equipment
   delivered by us on a different website. This is called Online Behavioral Advertising,
   which is a type of Relevant Advertising.

      2. Do you use my information for other types of Relevant Advertising?

   Yes. We may also use information we get through your use of our products and
   services, from our advertising partners, and information like your age and gender to
   deliver Relevant Advertising that is not Online Behavioral Advertising. We combine
   your Anonymous Information with that of other users into aggregate "audience
   segments". These segments are based on particular interests and/or factual
   characteristics that everyone in that audience segment is likely to share. We might use
   that information to send you advertisements that are relevant to those interests or
   characteristics. When we use this information to deliver, and measure the effectiveness
   of, advertisements we associate it with other information, like advertising IDs, device
   IDs, or similar identifiers. We are careful to only use non-personally identifiable
   information to serve Relevant Advertising with aggregate audience segments that are
   large enough that you can't be identified individually.

   In some cases you may agree to participate in advertising offers or programs through
   loyalty programs, when you download a mobile app, or other similar programs. In those
   cases, you will be told about the advertising program when you sign up. For more
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   information about those advertising programs, please consult the terms, conditions,
   and policies of the specific application or loyalty programs you are interested in or have
   joined.

      3. Do you use the location of my device for advertising purposes?

   Yes. We use information about the locations you visit in order to create combined
   wireless location interest characteristics that can be used to provide Relevant
   Advertising to you and others like you.

   Location characteristics are types of locations - like "movie theaters". People who live
   in a particular geographic area (a city, ZIP-code or ZIP+ 4 code, for example) might
   appear to have a high interest in movies, thanks to collective information that shows
   wireless devices from that area are often located in the vicinity of movie theaters. We
   might create a "movies characteristic" for that area, and deliver movie ads to the
   people who live there.

   We may associate your wireless device with a particular geographic area, such as a
   city, ZIP-code, or ZIP + 4 code, based on your billing address or the cell towers you
   connect with most frequently.

   In addition to other privacy protections, the process we use to create our audience
   segment includes a requirement that the ZIP + 4 or other geographic area to which a
   wireless location is assigned must contain a minimum of 25 households. ZIP + 4 codes
   with less than 25 households are combined with other ZIP + 4 codes to satisfy this
   requirement.

      4. What's in it for me?

   Just like the name says, you get advertising that's more relevant to your interests. For
   example, if a particular audience segment, like adults between the ages of 21 and 25
   with a certain income range, has demonstrated a greater interest in movies than other
   segments, we might send them a movie ad for a movie geared toward young adults.
   This is just one way we deliver content that's more relevant.

      5. How do you use information about the programs I watch on TV to advertise
         to me?
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   We combine information about the shows that our customers are watching with their
   common interests to help us figure out what types of advertising they might be
   interested in seeing.

   It sometimes works like this: We look at the group of people watching a particular
   show. We identify common characteristics within that group. We use those
   characteristics to identify and deliver advertising that might be most relevant to
   watchers of that TV show. We might also deliver that same advertising during shows
   that appear to have similar audiences.

      6. Do I ever have a chance to tell you what I'm personally interested in?

   Yes. With some programs offered or powered by AT&T you can sign up to receive text-
   message offers from businesses that are near your current location and match the
   interests you've selected. You can change your mind at any time and stop participating
   in these programs.

      7. What information do you provide to advertisers?

   We may provide reports to advertisers and other business customers about the
   success of its advertising campaigns. Those reports contain Anonymous Information
   about the number of times a particular ad was viewed, when it was viewed, whether it
   was viewed on a TV, a mobile device or a computer, demographics associated with the
   viewing audience and other similar information. Your Anonymous Information will not
   be included in aggregate reports about the success of Relevant Advertising campaigns
   if you have opted-out of Relevant Advertising delivered by AT&T.

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   Questions About Location Information

      1. What is location information?

   Exactly what it sounds like! It includes your ZIP-code and street address, as well as the
   whereabouts of your wireless device.

      2. How is it used?

   We use it in all kinds of ways, here are some examples:
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        • We Provide Wireless Voice and Data Services: We monitor, collect and use
          wireless location information, together with other information we get from our
          network and your wireless device, to maintain and improve our network. We
          also might use location information with your consent to provide you with a
          customized experience. For example, when you dial 411 Directory Assistance
          for a business telephone number, we might use your wireless location
          information to return the number of the business location closest to you.
        • Location Based Services (LBS): Your device can be used to access a ton of
          services based on location. We offer these services via applications that have
          been pre-loaded or downloaded by you on your device. LBS also may be
          provided via text message or other functionality. We’ll give you prior notice and
          ask for your consent when your location is used or shared. The form of consent
          may vary, but will be appropriate for the type of LBS you use.
        • LBS from other providers: With your consent (to us or the other company) we
          also may enable LBS from other companies by providing location information to
          their developers or location service providers.
        • We use it for Advertising

      3. How accurate is wireless location information?

   It depends on the technology we're using. For example, we can locate your device
   based on the cell tower that's serving you. The range could be up to 1,000 meters in
   any direction from the tower in urban areas, and up to 10,000 meters in rural areas.
   Wi-Fi networks provide more accurate location information, associating you with the
   place where the network is located - like a coffee shop - or to an area within or around
   that place.

   Services such as 411, 911, a "friend locator" application or a navigation/mapping
   application, require more precise information. So for those we develop a more precise
   estimate of location by associating the serving cell tower ID with other information, like
   the latitude and longitude of the tower, radio frequency parameters, GPS information
   and timing differences in radio signals. Depending on a variety of factors, those
   methods may estimate the location of your device to within 30 to 1000 meters.

      4. Are you the only ones who can locate my wireless device?

   Other companies may also be able to locate your device. For example, your handset
   manufacturer and your operating system provider may be able to locate your device. If
   you download mobile applications, those apps may be able to obtain your location
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   directly from your handset or the operating system. Mobile applications that give you
   access to your employer's network may also give your employer the ability to locate
   your device.

   We urge you to review policies of all providers.

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   Questions About Aggregate and Anonymous Information

      1. Where do you get Anonymous Information?

   Sometimes we'll collect information about how you use our products using cookies
   and other similar technologies
   (/sites/privacy_policy/cookies_and_other_technologies). This information doesn't
   include your Personal Information and is considered anonymous.

   When we collect information that identifies you personally, we may anonymize it for
   certain purposes. We remove data fields (such as name, address and telephone
   number) that can reasonably be used to identify you. We also use a variety of
   statistical techniques and operational controls to anonymize data. Anonymizing
   information is one of the tools we use to protect your privacy.

      2. Tell me more about aggregate information.

   Aggregate information is a form of Anonymous Information. We combine data that
   meet certain criteria into anonymous groups. For example, we might want to compare
   how customers in Beverly Hills, CA (or any city, county or ZIP-code) use their cell
   phones to how customers in Boulder, CO use their cell phones. In order to do that, we
   would combine customer data in each of the geographies into anonymous groups and
   look at all that aggregate data to understand how the two groups are different or
   similar.

      3. Do you share Anonymous or Aggregate Information?

   Yes, we may share this information with other companies and entities for specific uses,
   which may include:

        • Universities, laboratories, think tanks and other entities that conduct networking,
          social, behavioral, environmental and other types of scientific research, for the
          purpose of creating fundamental new knowledge;
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        • Municipalities, government or other entities that may use this data for purposes
          such as municipal and transportation planning, and emergency and disaster
          response coordination;
        • Advertisers and related companies for the delivery of advertising and to assess
          the effectiveness of advertising campaigns.

   We share this information in external reports like our External Marketing & Analytics
   Reports and Metric Reports.

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   Questions About External Marketing & Analytics Reports

      1. Tell me more about the External Marketing & Analytics Program.

   We use aggregate information to create External Marketing & Analytics Reports that
   we may sell to other companies for their own marketing, advertising or other similar
   uses.

   These reports may be a combination of information from wireless and Wi-Fi locations,
   TV Viewing, calling and texting records, website browsing and mobile application
   usage and other information we have about you and other customers. You have a
   choice about whether your Anonymous Information is included in the reports that we
   sell or provide to other companies.

   Some examples of External Marketing & Analytics Reports include:

        • Reports for retail businesses that show the number of wireless devices in or
          near their store locations by time of day and day of the week, together with
          demographic characteristics or other information about the users (such as
          device type, age or gender) in those groups.
        • Reports that combine anonymous TV Viewing behaviors with other aggregate
          information we may have about our subscribers to create reports that would
          help a TV network better understand the audiences that are viewing their
          programs, those that are not, how frequently they watch, when they watch and
          other similar information; and
        • Reports for device manufacturers that combine information such as device type,
          make and model with demographic and regional location information to reflect
          the popularity of particular device types with various customer segments.
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      2. Do you provide companies with individual anonymous data as part of your
         External Marketing & Analytics Program?

   Yes. For example, we might share anonymous TV Viewing Information with media
   research companies that combine this data with other information to provide audience
   analysis services about what shows certain audience segments are watching. When
   we provide individual Anonymous Information to businesses, we require that they only
   use it to compile aggregate reports, and for no other purpose. We also require
   businesses to agree they will not attempt to identify any person using this information,
   and that they will handle it in a secure manner, consistent with this Policy.

      3. Do you use my Anonymous Information in other types of external reports?

   Yes, we may use your Anonymous Information to provide Metrics Reports to our
   business customers, advertisers, and service suppliers. These reports are considered
   part of the underlying service and we do not sell them to other customers or suppliers.

   For example, if you connect to our Wi-Fi service in a hotel, airport or other venue you
   should know the operator of that venue is our business customer, and that we will
   provide that operator with Metrics Reports about usage of and communications with
   the Wi-Fi network in their location. Those reports contain statistical information like:

        • The number of devices connecting to the Wi-Fi network, duration of Wi-Fi
          sessions and the amount of bandwidth used during those sessions; and
        • Foot-traffic data, including the numbers of devices inside and outside the store
          at a given time; the number of new and frequent visitors; where visitors are
          located within the store (e.g., specific departments or other locations within the
          venue) and frequency of visits and time spent within the store.
        • NOTE: When your wireless device is turned on, it regularly sends out signals
          that enable it to connect to cell towers, Wi-Fi access points or other
          technologies so that we (and others) are able to provide you with services.
          These signals can be used to determine your device location. You can turn Wi-
          Fi to the "off" position on the "settings" feature of your device to prevent the
          collection of these signals by Wi-Fi equipment in retail stores and other public
          places.
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   Another example, we also license video programming from content providers. As part
   of our agreement, we provide them with Metrics Reports. These reports contain
   combined measurements and statistical information related to the number of TV
   subscribers who watched or accessed a particular program at a particular time and
   other similar measurements.

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   Questions About Our Online Privacy Policy for Children

      1. Do you collect information about my children's use?

   We do not knowingly collect personally identifying information from anyone under the
   age of 13 unless we first obtain permission from the child's parent or legal guardian.

      2. What happens when my child is using an account not registered to them?

   Internet and wireless devices and services purchased for family use may be used by
   children without our knowledge. When that happens, information collected may appear
   to us to be associated with the adult customer who subscribes to our services and will
   be treated as the adult's information under this Policy.

      3. What can I do to help better protect my child's information?

   We encourage you to spend time online with your children, and to participate in and
   monitor their online activity. We have developed a website that offers safety and control
   tools, expert resources and tips designed to help you manage technology choices and
   address safety concerns. Please visit AT&T Smart Controls
   (https://www.att.com/shop/wireless/smartcontrols.html) for more information.

      4. What if my child has an AT&T e-mail sub-account?

   If you create an AT&T e-mail sub-account for a child under the age of 13:

        • With your permission we collect your child’s name, nicknames and aliases,
          alternative e-mail address, birth date, gender and ZIP-code.
        • We use the information collected on sub-accounts to create and maintain those
          accounts, for research, to customize the advertising and content seen on our
          pages and for other marketing purposes. Your child can use their AT&T e-mail
          address and password to log onto websites and online services provided by us,
          like uverse.com (http://uverse.com/). We and our advertising partners may
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          collect and use information about customers who log onto those sites as
          described in the "Questions about the Information We Collect, How we
          Collect It and How We Use It" section of this Privacy Policy. A list of the
          advertising partners who collect information on our sites and the ability to opt-
          out of advertising provided by those partners is available here
          (/sites/privacy_policy/rights_choices).
        • We will not contact a child under the age of 13 about special offers or for
          marketing purposes without parental consent.
        • You or your child can review, edit, update, and delete information relating to
          your child's sub-account and, if you no longer wish your child to have such an
          account, you can revoke your consent at any time, by logging on to manage
          your account here (https://www.att.com/olam/loginAction.olamexecute?
          actionType=manage).

   You may e-mail us at privacypolicy@att.com (mailto:privacypolicy@att.com), call
   us at 800.495.1547 or write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S.
   Akard, Room 1033, Dallas, TX 75202 with any questions or concerns you may have
   about our Children's Online Privacy Policy.

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   Questions About Data Protection & Security

      1. Do we sell your Personal Information?

   No. We do not sell your Personal Information
   (/sites/privacy_policy/terms#definitions) to anyone, for any purpose. Period.

      2. How long do we keep your Personal Information?

   We keep your Personal Information (/sites/privacy_policy/terms#definitions) as
   long as we need it for business, tax or legal purposes. After that, we destroy it by
   making it unreadable or undecipherable.

      3. What safeguards does AT&T have in place?

   We've worked hard to protect your information. And we've established electronic and
   administrative safeguards designed to make the information we collect secure. Some
   examples of those safeguards include:
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        • All of our employees are subject to the AT&T Code of Business Conduct
          (COBC)
          (https://www.att.com/Common/about_us/downloads/att_code_of_business
          _conduct.pdf) and certain state-mandated codes of conduct. Under the COBC,
          all employees must follow the laws, rules, regulations, court and/or
          administrative orders that apply to our business - including, specifically, the
          legal requirements and company policies surrounding the privacy of
          communications and the security and privacy of your records. We take this
          seriously, and any of our employees who fail to meet the standards we've set in
          the COBC are subject to disciplinary action. That includes dismissal.
        • We've implemented technology and security features and strict policy guidelines
          to safeguard the privacy of your Personal Information. Some examples are:
                ◦ Maintaining and protecting the security of computer storage and network
                  equipment, and using our security procedures that require employee
                  user names and passwords to access sensitive data;
                ◦ Applying encryption or other appropriate security controls to protect
                  Personal Information when stored or transmitted by us;
                ◦ Limiting access to Personal Information to only those with jobs requiring
                  such access; and
                ◦ Requiring caller/online authentication before providing Account
                  Information so that only you or someone who knows your Account
                  Information will be able to access or change the information.
                ◦ Although we strive to keep your Personal Information secure, no security
                  measures are perfect, and we cannot guarantee that your Personal
                  Information will never be disclosed in a manner inconsistent with this
                  Policy (for example, as the result of unauthorized acts by third parties
                  that violate the law or this Policy).

            4. Will you notify me in case of a security breach?

         Laws and regulations guide us in how to give you notification when certain
         types of sensitive information are involved in a security breach. We will provide
         you with notice in accordance with these laws and regulations.

            5. Can I review and correct my Personal Information?

         Yes. We are happy to help you review and correct the Personal Information we
         have associated with your account and billing records within a reasonable time.
         Please see the How to Contact Us About This Policy
         (http://about.att.com/sites/privacy_policy/terms#contact) section.
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         Questions About Future Changes

            1. What happens if there is a change in corporate ownership?

         Information about our customers and users, including Personal Information,
         may be shared and transferred as part of any merger, acquisition, sale of
         company assets or transition of service to another provider. This also applies in
         the unlikely event of an insolvency, bankruptcy or receivership in which
         customer and user records would be transferred to another entity as a result of
         such a proceeding.

            2. Will I be notified if there are changes to this policy?

         We may update this Privacy Policy as necessary to reflect changes we make
         and to satisfy legal requirements. We will post a prominent notice of material
         changes on our websites. We will provide you with other appropriate notice of
         important changes at least 30 days before the effective date.

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         Your Choices & Controls

            1. You can choose not to receive some types of advertising online, on
               your satellite TV service or on your wireless device.

              • Relevant Advertising: Opt-out of Relevant Advertising delivered by
                AT&T here
                (https://cprodmasx.att.com/commonLogin/igate_wam/controller.do
                ?
                TAM_OP=login&USERNAME=unauthenticated&ERROR_CODE=0x0
                0000000&ERROR_TEXT=HPDBA0521I%20%20%20Successful%20c
                ompletion&METHOD=GET&URL=%2Fpkmsvouchfor%3FATT%26htt
                ps%3A%2F%2Fcprodx.att.com%2Fcmp%2Fcmpa%2Flogin.jsp&REF
                ERER=https%3A%2F%2Fwww.att.com%2FCommon%2Fabout_us%
                2Fprivacy_policy%2Fprint_policy.html&HOSTNAME=cprodmasx.att.
                com&AUTHNLEVEL=&FAILREASON=&OLDSESSION).
              • Online Behavioral Advertising: Advertising that is customized based
                on predictions generated from your visits over time and across different
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                websites is sometimes called "online behavioral" or "interest-based"
                advertising. In accordance with industry self-regulatory principles, you
                can opt out of online behavioral advertising from companies who
                participate in the Digital Advertising Alliance
                (http://www.aboutads.info/) by going to their Consumer Choice Page
                (http://www.aboutads.info/choices/#completed) or by clicking on this
                icon (http://www.aboutads.info/) when you see it on an online ad.
                Opt-out of online behavioral advertising from many other ad networks at
                the Network Advertising Initiative (NAI) site
                (http://www.networkadvertising.org/choices/).
              • Information about Cookies and Similar Technologies: To limit
                collection of data on web sites that may be used for advertising, go here
                (http://about.att.com/sites/privacy_policy/cookies_and_other_techn
                ologies) for information on how to manage cookies and other similar
                technologies on your computer.
              • Advertising on att.net: Opt-out of receiving interest-based advertising
                when using our att.net portal services powered by Synacor
                (http://www.aboutads.info/choices). Opt-out of interest-based
                advertising on att.net from Yahoo! This covers att.net email and also the
                Yahoo! (https://aim.yahoo.com/aim/us/en/optout/index.htm) portal
                that is being retired.
              • Advertising Offers from Apps and Loyalty Programs: In some cases
                you may agree to participate in advertising offers or programs through
                loyalty programs, when you download a mobile app, or other similar
                programs. For example, if you have the DIRECTV app, you can find out
                more about your choices concerning how your DIRECTV viewing
                information is used and shared here
                (https://www.directv.com/DTVAPP/content/support/DTVAPP_policy).

            2. Do I have choices about receiving first party advertisements from
               AT&T?

            Because first party advertising is part of the service you receive when
            you visit our websites and use our mobile applications, we don't offer an
            opt-out for first party advertising.

            3. Can I choose not to receive marketing and other types of
               communication from AT&T?
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            We realize that unwanted marketing contacts can be a hassle and we've
            worked hard to meet the expectations of customers and potential
            customers who have expressed a desire to limit certain types of
            solicitation communications from us.

            E-Mail: Every marketing e-mail we send contains instructions and a link
            that will allow you to stop additional marketing e-mails for that product or
            service type. You also can unsubscribe from AT&T marketing e-mails
            here (http://www.att.com/remove).

            Text Messages: Opt-out of AT&T marketing text message contacts by
            replying "stop" to any message.

            AT&T Consumer Telemarketing: Ask to be removed from our consumer
            telemarketing lists by contacting us at one of the numbers listed here
            (/sites/privacy_policy/rights_choices#cpnicontact). You also can ask
            the AT&T representative to remove you from our telemarketing lists when
            you receive a marketing or promotional call from us.

            AT&T Business Telemarketing: Where required by local laws and/or
            regulations, we honor requests to be removed from our telemarketing
            lists from business customers.

            Federal Do Not Call: The FTC maintains a National Do Not Call
            Registry at donotcall.gov (http://www.donotcall.gov/), and some
            states in the United States may maintain its own Do Not Call Registry.
            Putting your number on these Registries also may limit our AT&T
            telemarketing calls to that number.

            Postal Mail: To review our Residential Do Not Mail Policy Statement and
            to limit postal mail solicitations, click here
            (/sites/privacy_policy/att_consumer_marketing). You will still receive
            billing statements, legal notices, product updates and other similar
            correspondence, and you may still receive some promotional mailings.

            All of our practices are designed to satisfy state, provincial and federal
            legal requirements limiting marketing contacts. Those laws and
            regulations - such as the requirements governing the state and federal
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            "Do Not Call" lists - generally permit companies to contact their own
            current and, in some cases, former customers, even when those
            customers are listed on the federal and state "Do Not Call" lists.

            Automated Calls or Messages: In some cases, we will ask for your
            permission to send you automated calls or messages to your mobile
            phone. To opt out of these calls or messages from AT&T, please go to
            Manage Your Privacy Choices (http://www.att.com/cmpchoice). As
            required or allowed by law, even if you opt out, AT&T may continue to
            contact you with automated calls or messages at the telephone number
            issued by us for certain important informational messages about your
            service. For example, we may need to let you know about a problem with
            your wireless service.

            Restricting our use of your CPNI will not eliminate all types of our
            marketing contacts.

            4. Can I choose to exclude my Anonymous Information from your
               External Marketing & Analytics and other similar reports?

            Yes. Click here (https://www.att.com/cmpchoice) to opt-out. This opt-
            out also applies to the sharing of your Anonymous Information with other
            companies for their use in creating marketing and analytics reports.
            Although this opt out does not apply to Metrics Reports, it will apply if we
            combine Metrics Report information with other customer information (like
            demographics) to create reports that we provide to our business
            customers or service suppliers.

            5. What is DNS error assist?

            When you mistype a web address, or the address is not working, DNS
            Error Assist provides an automated list of similar pages – such as
            possibly the one you meant to type – for your consideration. The service
            is provided on your AT&T residential broadband connection, and you can
            opt-out here (http://www.att.com/cmpchoice). If you opt-out, you will
            get a standard “no results found” error message instead of the error-
            assist page.

            6. Are there any other opt-out choices I should know about?
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            We may use services provided by analytics companies to obtain
            information about website performance and how you use our mobile
            applications and other products and services. Go here
            (http://www.aboutads.info/choices/) for more information about the
            opt-outs made available by some of those vendors, and to make choices
            about participation. Based on your permission, we may share your
            mobile device location or other mobile subscriber information with third
            parties when you use Third-Party Services, such as to prevent fraud
            when making a bank transaction. If you want to change that permission,
            you can opt out directly with the third party or you can opt out by going to
            Manage Your Privacy Choices.

            7. These Choices and Controls also are available at
               http://about.att.com/sites/privacy_policy/rights_choices
               (/sites/privacy_policy/rights_choices).

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         How to Contact Us About This Policy

         We encourage you to contact us directly at either of these addresses below for
         any questions about this Privacy Policy.
              • E-mail us at privacypolicy@att.com (mailto:privacypolicy@att.com)
              • Write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S. Akard,
                Room 1033, Dallas, TX 75202.

         For questions not related to privacy click on the "Contact Us" link at the bottom
         of any att.com (http://www.att.com/) page. You also can access your online
         account from the upper right hand corner of our home page at att.com for
         additional service options.

         If you have an unresolved privacy or data use concern that we have not
         addressed satisfactorily, you may contact our U.S.-based third-party
         ombudsperson program at https://www.truste.com/consumer-
         resources/dispute-resolution/dispute-resolution-faqs/
         (https://www.truste.com/consumer-resources/dispute-resolution/dispute-
         resolution-faqs/). If you are not satisfied with our resolution of any dispute,
         including with respect to privacy or data use concerns, please review our
         dispute resolution procedures at http://www.att.com/disputeresolution
         (http://www.att.com/disputeresolution).
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          You also have the option of filing a complaint with the FTC Bureau of Consumer
          Protection, using an online form (https://www.ftccomplaintassistant.gov), or
          by calling toll-free 877.FTC.HELP (877.382.4357; TTY: 866.653.4261). Other
          rights and remedies also may be available to you under federal or other
          applicable laws.

          If you are a satellite TV subscriber, you also have certain rights under Section
          338(i) of the Federal Communications Act
          (http://www.gpo.gov/fdsys/pkg/USCODE-2011-title47/pdf/USCODE-2011-
          title47-chap5-subchapIII-partI-sec338.pdf).

          If you are a DIRECTV customer in Puerto Rico, you can exercise and manage
          your choices by visiting https://www.directvpr.com/Midirectv/ingresar
          (https://www.directvpr.com/Midirectv/ingresar) or by calling 787-776-5252.

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   What is CPNI?

   “CPNI” is information about your phone service from us. Your phone service could be a
   cell phone or any sort of home or business phone. The “information” is things like what
   kind of services you have, how you use them, or billing information. (Your telephone
   number, name and address are not considered CPNI.)

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   How is CPNI Used and Disclosed?

   We do not sell, trade or share your CPNI with anyone outside of the AT&T family of
   companies* or our authorized agents, unless required by law (example: a court order).
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   We do use your CPNI internally, however. We may share information about our
   customers among the AT&T companies and our agents in order to offer you new or
   enhanced services. For example, we might offer a discount or promotion for Internet or
   TV services based on your CPNI.

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   How may I limit the use of my CPNI?

   AT&T uses technology and security features, and strict policy guidelines with ourselves
   and our agents, to safeguard the privacy of CPNI. It is your right and our duty under
   federal law to protect the confidentiality of your CPNI.

   If you don’t want AT&T to use your CPNI internally for things like offers, here is what
   you can do:

     You can “opt out” online, at att.com/ecpnioptout (http://att.com/ecpnioptout), or

     You can call 800.315.8303, any time of day, and follow the prompts, or

     You can speak to a service representative at 800.288.2020 (consumer) or
   800.321.2000 (business).

     For languages other than English and Spanish, please visit world.att.com
   (http://world.att.com).

   If you choose to restrict our use of your CPNI, it won’t affect any of your services. You
   can change your mind at any time about allowing (or not allowing) us to use your
   CPNI, and we’ll honor your decision until you change it again. If you do restrict your
   CPNI use, you may still get marketing from us, but it won’t be from using CPNI.

   * The AT&T Family of Companies are those companies that provide voice, video and
   broadband-related products and/or services domestically and internationally, including
   the AT&T local and long distance companies, AT&T Corp., AT&T Mobility, DIRECTV,
   and other subsidiaries or affiliates of AT&T Inc. that provide, design, market, or sell
   these products and/or services.

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   Customer Service Contact Numbers
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   Wireless - 1-800-331-0500

   Business - 1-800-321-2000

   Residential - 1-800-288-2020

   Spanish Language - 1-800-870-5855

   Satellite TV Services - 1-800-DIRECTV or 1-800-531-5000

   For assistance in other languages, please visit world.att.com (http://world.att.com).

   Legacy AT&T Consumer - 1-800-222-0300

   Customers of the following AT&T family of companies may contact us directly
   using the following:

   AT&T Internet Services - Customers can manage newsletter subscriptions or other e-
   mail communications from Yahoo! by modifying their AT&T Yahoo! Marketing
   Preferences.

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